     Case 2:21-cv-08601-JFW-JC Document 28-1 Filed 01/21/22 Page 1 of 2 Page ID #:139


Michelle B. Wellnitz

From:                               Victor Metroff <vmetroff@sulaimanlaw.com>
Sent:                               Tuesday, January 18, 2022 3:32 PM
To:                                 Michelle B. Wellnitz; Jonathan Ebertshauser; Theresa Laubenthal
Cc:                                 Mohammed Badwan; Michelle Barry; Nicholas Wajda
Subject:                            RE: Wood v. I.Q. Data International 2:21-cv-08601-JRP


Hi Michelle, thank you for noting that you object. It will be noted in the motion for extension of time to respond.

We are reviewing the JSR and will advise on changes etc. in short order.
Thanks,



From: Michelle B. Wellnitz <Michelle.Wellnitz@carpenterhazlewood.com>
Sent: Tuesday, January 18, 2022 4:28 PM
To: Victor Metroff <vmetroff@sulaimanlaw.com>; Jonathan Ebertshauser <JonathanE@carpenterhazlewood.com>;
Theresa Laubenthal <theresa@carpenterhazlewood.com>
Cc: Mohammed Badwan <mbadwan@sulaimanlaw.com>; Michelle Barry <mbarry@sulaimanlaw.com>; Nicholas Wajda
<nick@wajdalawgroup.com>
Subject: RE: Wood v. I.Q. Data International 2:21‐cv‐08601‐JRP

Hi Victor,

Pursuant to L.R. 7‐10, Defendant’s deadline to file its reply is 14 days before the date designated for the hearing of the
motion. The hearing for our Motion to Dismiss is currently set for February 7, 2022 and therefore our last day to file a
reply to any response Plaintiff may file is January 24, 2022. Thus, we must object to Plaintiff’s requested extension to
January 28, 2022, as this date would conflict with Defendant’s compliance with the Court’s Local Rules as to its
anticipated Reply paper.

Our additions and proposed revisions to the draft Joint Report are attached. Please confirm you will be filing today.

Thank you,
Michelle



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www.hoacollection.com . Please note that a $15.00 convenience fee applies to all credit card and ACH payments.




From: Victor Metroff [mailto:vmetroff@sulaimanlaw.com]
Sent: Tuesday, January 18, 2022 11:14 AM
To: Michelle B. Wellnitz <Michelle.Wellnitz@carpenterhazlewood.com>; Jonathan Ebertshauser
<JonathanE@carpenterhazlewood.com>; Theresa Laubenthal <theresa@carpenterhazlewood.com>
Cc: Mohammed Badwan <mbadwan@sulaimanlaw.com>; Michelle Barry <mbarry@sulaimanlaw.com>; Nicholas Wajda
<nick@wajdalawgroup.com>
Subject: RE: Wood v. I.Q. Data International 2:21‐cv‐08601‐JRP

Thanks Michelle.

Do you have any objection to an extension of time to respond to the MTD for 10 days? Placing our deadline to respond
to January 28, 2022?

Best,


Victor T. Metroff
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